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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY
EMPLOYEES UNION, et al.
          Plaintiffs,

               v.                                              Civil Action No. 25-cv-381-ABJ

RUSSELL VOUGHT, in his official capacity
as Acting Director of the Consumer
Financial Protection Bureau, et al.
               Defendants.

 UNOPPOSED MOTION OF TZEDEK DC FOR LEAVE TO FILE AMICUS BRIEF IN
   SUPPORT OF PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to LCvR 7(o), Tzedek DC moves for leave to file the attached amicus brief in

support of Plaintiff's pending motion, which the Court’s February 14, 2025, Order “deemed a

motion for preliminary injunction.” Dkt. No. 19. The motion should be granted for the following

reasons:

   1. This Court has “broad discretion” to permit amicus curiae participation. Nat’l Ass’n of

Home Builders v. U.S. Army Corps of Engineers, 519 F. Supp. 2d 89, 93 (D.D.C. 2007). The Court

has permitted the filing of amicus briefs in cases where a third party has “unique information or

perspective” that can contribute to the Court’s understanding of the matter in question and assist

the Court in the resolution of legal or factual questions. Jin v. Ministry of State Sec’y, 557 F. Supp.

2d 131, 137 (D.D.C. 2008) (internal quotation marks omitted).

   2. Tzedek DC is a 501(c)(3) nonprofit corporation in the District of Columbia. Operating as

an independent public interest center headquartered at the UDC David A. Clarke School of Law

in the District of Columbia, Tzedek DC’s mission is to safeguard the legal rights and financial

health of DC residents with low incomes dealing with the often-devastating consequences of

abusive debt collection practices and other consumer related issues. Tzedek DC’s strategic

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approach combines three programs: (i) free direct services, including legal services for consumer-

related issues and financial counseling, including its Medical Debt, Disabilities Community,

Returning Citizens, and Economic Exploitation and Fraud Prevention projects; (ii) systemic

change through coalition advocacy; and (iii) bilingual community education and outreach on debt

collection, identity theft, and credit management, to support low- and moderate-income DC

residents.

    3. Tzedek DC has previously filed amicus briefs regarding key Consumer Financial

Protection Bureau (CFPB) issues in the Supreme Court regarding the constitutionality of the

CFPB’s funding structure and in the D.C. Circuit regarding the validity of the appointment of then

then-Acting Director of the CFPB.1

    4. Tzedek DC has a substantial interest in this case because the unconstitutional and illegal

closure, work stoppages, and discharges at the CFPB will result in a negative impact on Tzedek

DC’s work and clients and the community that the organization serves, in three main areas. First,

the CFPB’s work bolsters Tzedek DC’s ability to provide low and moderate-income DC residents

with legal representation in consumer-related cases. Second, CFPB research and rulemakings

support Tzedek DC clients and the lower and moderate income community Tzedek DC serves.

Third, the CFPB’s public-facing resources and materials benefit Tzedek DC’s clients and the

public. The dismantling of the CFPB would end all of this and harm Tzedek DC, the client

community it serves, and the public interest the organization seeks to advance.




1  Tzedek DC, Supreme Court Sides with CFPB, Tzedek DC, and Allies by Ensuring
Constitutionality of CFPB Funding (last visited Feb. 20, 2025), https://www.tzedekdc.org/news-
1/2024/5/20/supreme-court-sides-with-cfpb-tzedek-dc-and-allies-by-ensuring-constitutionality-
of-cfpb-funding; Public Citizen, English v. Trump (last visited Feb. 20, 2025),
https://www.citizen.org/litigation/english-v-trump/.
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   5. Tzedek DC’s work and expertise as an organization that conducts direct representation,

policy and systemic advocacy, and outreach and education allow us to provide specific and unique

insight, including examples of support the CFPB has provided to clients, CFPB resources Tzedek

DC shares with clients and community members to conduct our work, CFPB rulemakings for

which Tzedek DC has advocated, and CFPB guidance upon which Tzedek DC has relied, among

other examples.

   6. The disposition of the pending motion for preliminary injunction may require this Court to

consider, among other things, irreparable harms if a preliminary injunction is not granted, the

impact on the public interest, and the balance of equities. Tzedek DC’s proposed brief offers

unique perspective and facts relevant to those factors.

   7. Accordingly, the Court should grant this unopposed motion for leave to file the proposed

amicus brief in support of the motion for a preliminary injunction, attached as Exhibit 1 to this

motion. A proposed Order is attached as Exhibit 2.

Dated: February 21, 2025                             Respectfully Submitted,

 /s/ Ariel Levinson Waldman                                /s/ William Pittard
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                      CERTIFICATE PURSUANT TO LCvR 7(m), 7(o)

       The undersigned conferred with the counsel for the parties in this case pursuant to Local

Rules 7(m) and 7(o), and they confirmed that their clients do not oppose this motion.


                                                     /s/ Noah Brozinsky

                                                     Noah Brozinsky

                                                     Counsel for Amicus Curiae Tzedek DC




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 21st day of February, 2025, a true and correct
copy of the Unopposed Motion of Tzedek DC to File Amicus Brief in Support of Plaintiffs’ Motion
for a Preliminary Injunction, proposed Order thereto, and the proposed Amicus Brief of Tzedek
DC in Support of Plaintiffs’ Motion for a Preliminary Injunction were served upon all counsel of
record through CM/ECF.

                                                     /s/ Noah Brozinsky

                                                     Noah Brozinsky

                                                     Counsel for Amicus Curiae Tzedek DC




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